 

‘ Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 1 of 16 Page|D #:1 15

Ao 91 F."i iln fimimEplD AUSA Tim@rhy J. Scorino (312) 353-5347

AUSA Wllllam Dunne (312) 353-2815
FEB 2 3 2016 UNITED sTATEs nisTRicT coURT
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THoMAS G. BRuToN EASTERN DWISION

CLERK, U.S. D|STR|CT COURT

UNITED sTATEs or AMERicA _ .
cAsE NUMBEl 60 R 1 0 7

v. UNDER SEAL

GABRIEL ROSAS,

k “G b ”
a a a @ MAG|STRAE’IUDGE GILBERT

CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about March 18, 2015, at Joliet, in the Northern Distr ict cf lllinois Ea stern Division, the
defendant violated:
Code Section ‘ Offense Description

Title 18, United States Code, Section Knovvingly and intentionally possessed in and
922(g)(1) affecting interstate commerce a firearm, namely,
a .22 caliber Phoenix Arms pistol, Model HPZZA,
bearing serial number 4406()46, and a Rohm .22
caliber revolver, bearing serial number 1047115,
after previously having been convicted of a crime
punishable by a term of imprisonment exceeding

one year.
Title 21, United States Code, Knowingly and intentionally distributing a
Sections 841(a)(1) and (b)(l)(C) mixture or substance containing a detectable

amount of cocaine.

This criminal complaint is based upon these facts:
X Continued on the attached sheet. 9 E‘/?\J"*\

JOSEPH DYNES

p cial Agent, AT l
vaorn to before me and signed in my presence j>"/
\ A r’ `
,/WMM / , _

  
 
 

Date: Februarv 23, 2016

y n ge s signature
City and state: Chicago, lllinois JE FREY 'l`. GlLBERT, U.S. l\/lagistrate .ludge
Prl'nled name and Tl`l/e

 

 

 

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 2 of 16 Page|D #:2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS SS
AFFIDAVIT

l, JOSEPH DYNES, being duly sworn, state as follows:

1. l am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms &
Explosives, and have been so employed since October 2014. My current
responsibilities include the investigation of firearms trafficking, illegal firearms
possession, and narcotics trafficking

2. This affidavit is submitted in support of a criminal complaint alleging
that Gabriel ROSAS, also known as “Gabe,” has violated Title 18, United States
Code, Section 922(g)(1) and Title 21, United States Code, Section 841(a)(1) and
(b)(l)(C). Because this affidavit is being submitted for the limited purpose of
establishing probable cause in support of a criminal complaint charging ROSAS
with possession of a firearm by a convicted felon, l have not included each and every
fact known to me concerning this investigation l have set forth only the facts that l
believe are necessary to establish probable cause to believe that the defendant
committed the offense alleged in the complaint

3. This affidavit is based on my personal knowledge, experience and
training, information provided to me by other law enforcement agents and the

experience and training of those agents, numerous interviews of a confidential

source, review of consensual recordings, and physical surveillance

 

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 3 of 16 Page|D #:3

4. At various points in this Affidavit, l will offer my interpretation of
certain recorded conversations and meetings in brackets or immediately following a
quotation My interpretation of these conversations is based on my knowledge of the
investigation to date, the content and context of the conversations as well as prior
and subsequent conversations, the results of physical surveillance, conversations
with other officers and agents, and my experience and familiarity with these types
of investigations 'l`he summaries of conversations included in this Affidavit do not
include all statements or topics covered during the course of the recorded
conversations ln addition, the conversations are based on draft, not final,
transcripts of the conversations Times, where provided, are approximate

5. Based on the information contained in this Affidavit, l submit that
there is probable cause to believe that, on or about March 18, 2015, Gabriel ROSAS,
aka, “Gabe,” (1) having previously been convicted of a crime punishable by a term of
imprisonment exceeding one year, knowingly possessed a firearm, in and affecting
interstate commerce, in that the firearm had traveled in interstate commerce prior
to the defendant’s possession of the firearm, namely a .22 caliber Phoenix Arms
pistol, Model HP22A, bearing serial number 4406046 and a Rohm .22 caliber
revolver, bearing serial number 1047115, in violation of Title 18, United States
Code, Section 922(g)(1); and (2) knowingly and intentionally distributed a mixture
or substance containing a detectable amount of cocaine, in violation of Title 21,

United States Code, Sections 84l(a)(l) and (b)(l)(C).

 

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 4 of 16 Page|D #:4

FACTS IN SUPPORT OF PROBABLE CAUSE
Introduction and Background

6. Since July 2014, ATF has been investigating a faction of the Latin
Kings street gang based in Joliet, lllinois (the “Joliet Latin K_ings”). ln the course of
that investigation law enforcement has employed a variety of law enforcement
tactics and tools, including the use of a confidential source (hereinafter “CS”), the
consensual recording of telephone calls with Joliet Latin Kings gang members, the
consensual recording of in-person meetings of the Joliet Latin Kings, and the
purchase of illegal narcotics and firearms by the CS from various Joliet Latin Kings
gangmembers.

7. As noted above, this investigation has employed the use of a CS. The
CS is a member of the Joliet Latin Kings who has been cooperating with the ATF in
relation to this investigation since in or around April 2014, after agents approached
the CS and advised the CS that they suspected that he/she was engaged in narcotics
trafficking The CS agreed to cooperate with federal law enforcement The CS is
cooperating in hopes that he/she will not be charged for these offenses, and,
beginning in or around April 2014, the CS has been paid for his/her cooperation in
the instant investigation To date, the CS has been paid approximately $21,00() for
his/her cooperation in relation to the instant gang investigation The CS has also
been paid for his/her cooperation in two other investigations in the amount of
approximately $l,OO(). The CS has arrests for weapons offenses, traffic offenses,

public peace/disorderly conduct, criminal damage to property, and dangerous drugs,

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 5 of 16 Page|D #:5

as well as convictions for narcotics possession and unlawful possession of a weapon
Neither the ATF nor the United States Attorney’s Office has made any promises to
the CS in exchange for his/her cooperation

8. The information contained herein that was obtained from the CS has
been corroborated and crosschecked, where possible, by investigation and law
enforcement computer systems and documents This affiant and other law
enforcement officers have taken part in the interview process and analysis of the
information provided by the CS and have found the CS’s information to be truthful
and reliable. ln addition, the CS has been corroborated extensively by controlled
undercover activities with other gang members through the use of electronic
surveillance techniques, including both video and audio recordings of the
undercover meetings and contraband transactions

9. ROSAS is 39 years old and a convicted felon According to the CS as
well as information gathered from the instant investigation ROSAS is a current
member of the Joliet faction of the Latin Kings. As set detailed below, during this
investigation the CS purchased three firearms from ROSAS during two controlled
transactions, which occurred on December 31, 2014, and on l\/larch 18, 2015.

December 31, 2014, sale of a firearm by ROSAS to the CS

10. On or about December 20, 2014, the CS advised agents that the CS
unexpectedly ran into ROSAS and he told the CS in an unrecorded conversation
that he (ROSAS) had three 9mm firearms for sale. On or about December 21, 2014,

at the direction of agents, the CS sent a text message to ROSAS at a telephone

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 6 of 16 Page|D #:6

number ending in 0956,1 which stated: “it’s me [the CS]. .. was checking about those
things [firearms] we talked about... l’m on it brother..” About one minute later,
ROSAS responded, “K.”

11. On or about December 30, 2014, the CS met ROSAS in an unplanned
meeting, at which ROSAS told the CS in an unrecorded conversation that he
(ROSAS) still had a 9mm firearm for sale for $400. The CS agreed to buy the

l firearm the next day.

12. On or about December 31, 2014, at approximately 10:30 a.m., the CS
sent a text message to RGSAS at a telephone number ending in 0956, which read:
“Yeah 4sure at 5 l got to visit with my grandma after that so if we can do it sooner
that will be cool too l got the loot...” Later that afternoon during a recorded

_ telephone call between the CS and ROSAS at a telephone number ending in 0956,

ROSAS stated he was “waiting on my dude [source] to get out of work.” ROSAS

instructed the CS to wait until ROSAS called the CS. Approximately' an hour and 7

half later, the CS called ROSAS at a telephone number ending in 0956. During that
recorded call, the CS stated, “what’s the business,” and ROSAS responded that the

CS could come over “through and chill” and “he’ll [source of firearm] be here,”

 

1 This telephone number has been identified as being used by RCSAS based on law
enforcement’s review of the recorded telephone calls made from this number, which law
enforcement has determined the voice of the person who spoke with the CS during those
calls matched the voice of additional recorded calls between ROSAS and the CS as well as
recorded meetings between ROSAS and the CS. ln addition, as reflected in this affidavit,
ROSAS appeared for the two meetings With the CS consistent with the messages being sent
over the 0956 number,

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 7 of 16 Page|D #:7

meaning the CS could come to where ROSAS was and wait for the source to bring
the firearm.

13. At approximately 4:45 p.m., the CS met with agents at a
predetermined meeting location, where they searched the CS and the CS’s vehicle,
equipped the CS’s person with an audio-Video recording device, and provided the CS
with $400 in pre-recorded United States currency. Agents then surveilled the CS as
he/she drove to ROSAS’s residence on Elgin Avenue in Joliet, lllinois, and, upon
arriving there at approximately 5:07 p.m., agents observed as the CS walked to the
rear of the residence

14. As reflected on the audio-video recording device and according to the
CS, inside the basement apartment was ROSAS and two other Hispanic males
smoking marijuana As reflected on the video-audio recording, the CS sat down in a
chair and waited for ROSAS’s source to arrive

15. At approximately 5116 p.m., agents observed a white car arrive at
ROSAS’s residence According to the CS, about the same time, an Hispanic male
entered the basement apartment and handed a nylon lunch bag to ROSAS and
stated words to the effect of whether they were going to “step out,” meaning go into
another room to complete the transaction As reflected on the video-recording,
ROSAS and the CS then stood up and walked to another room. Shortly thereafter,
the audio-video recording then captured the sound of a Velcro bag being opened,
and according to the CS, ROSAS showed the CS the 9mm firearm. The CS stated

words to the effect of, “that mother fucker’s decent,” referring to the firearm, and

 

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 8 of 16 Page|D #:8

ROSAS agreed According to the CS, ROSAS then showed him/her a box of 9mm
ammunition but told the CS that he could not give the box to him/her. According to
the CS, ROSAS then found a sock and poured the ammunition into the sock, which
ROSAS gave to the CS. As reflected on the audio-video recording, the CS counted
out $400, which, according to the CS, he/she handed to ROSAS. ROSAS advised the
CS “to be careful out there.”

16. At approximately 5:19 p.m., agents observed the CS walk from the rear
of ROSAS’s residence, enter his/her car, and drive to a predetermined meeting
location There, the CS gave agents a dark-colored lunch bag. lnside the bag, agents
seized a 9mm, Bryco Arms, l\/lodel - Jennings Nine, bearing serial number 136207,
wrapped in a green washcloth, and a sock containing 50 rounds of 9mm
ammunition Agents search the CS and the CS’s vehicle for an additional
contraband, with negative results

March 18, 2015, sale of two firearms by ROSAS to the CS

17. On or about March 16, 2015, CS reported to ATF that, on a prior
occasion, the CS ran into ROSAS unexpectedly in the Joliet area and ROSAS
indicated to the CS that he had firearms for sale

18. On or about March 17, 2015, the CS and ROSAS exchanged calls/text g
messages in an attempt to negotiate the purchase of the firearms2 At

approximately 7 133 p.m. that day, the CS sent a text message to ROSAS, stating,

 

2 These calls/text messages were not recorded because ROSAS contacted the CS on a
telephone different than the one provided by law enforcement to the CS to be used in
relation to the instant investigation

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 9 of 16 Page|D #:9

“Hey it’s [the CS], this is my other line - gonna call in a min.” ROSAS responded,
“K.,,

19. At approximately 7 :41 p.m., the CS, at the direction of ATF, placed a
consensually-recorded telephone call to ROSAS at a telephone number ending in
9398.3 The CS asked if they could “do that tomorrow as soon as l can get back,”
referring to the CS purchasing the firearms ROSAS stated, “Yeah We can do that
tomorrow, cause l have to have somebody bring them [the firearms] to me.” ROSAS
asked the CS what time tomorrow, so ROSAS could “make sure l got everything on,
right there,’a referring to having the firearms at his residence ready for sale The CS
and ROSAS agreed to conduct the transaction between 6:00 p.m. and 8:00 p.m. the
following day, that is, l\/larch 18, 2015. The CS asked: “So they’re both the same
thing,” meaning whether both firearms were the same caliber. ROSAS confirmed,
“Yeah, they’re both the same thing. The one with the three, that’s a, it’s a 22 long.
Just a [unintelligible] it got three of those things with it, and then the other one is
a, a revolver.” The CS understood ROSAS to mean that both firearms were .22
calibers, while one .22 caliber had three magazines with it and the other .22 caliber

was a revolver. The CS then asked, “All together, like what 650 for both [$650 for

 

3 This telephone number has been identified as belonging to ROSAS based on law
enforcement’s review of the recorded telephone calls made from this number, including the
March 17, 2015 call referenced above, which law enforcement has determined the voice of
the person who spoke with the CS during those calls matched the voice of additional
recorded calls between ROSAS and the CS as well as recorded meetings between ROSAS
and the CS. ln addition, and subsequent to the l\/larch 17, 2015 call as Well as other
recorded calls, the CS met with a person who law enforcement subsequently identified as
ROSAS. Unless otherwise noted, all recorded calls and text messages between the CS and
ROSAS were from this phone number ending in 9398.

 

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 10 of 16 Page|D #:10

both firearms]?” ROSAS agreed, and asked if the transaction was “a for sure thing,
so l can have ‘em ready.” The CS responded it will be “a for sure thing.” The CS and
ROSAS agreed to conduct the transaction on l\/farch 18, 2015.

20. On March 18, 2015, the CS informed agents that, earlier that day, the
CS spoke to ROSAS and ROSAS confirmed the transaction would occur later that
evening. The CS also asked ROSAS if the CS could purchase a “Zone,” referring to
an ounce of cocaine from ROSAS. ROSAS stated that would be okay. This call was
not recorded4 l

21. At approximately 4:46 p.m. that day, the CS placed a consensually-
recorded telephone call to ROSAS. The CS stated that he/she was about two hours
away and asked, “Everything is still all good, right?” ROSAS replied “Yeah.” The CS
asked ROSAS if he would “have that other thing ready for me too,” referring to the
ounce of cocaine ROSAS replied “Yep.” ROSAS asked what time the CS would be
around to do conduct the transaction The CS responded: “About 8 o’clock,” and then
clarified between 7:30 and 8:00 p.m.

22. At approximately 8:15 p.m., the CS met with agents at a
predetermined meeting location

23. At approximately 8:30 p.m., in the presence of agents the CS called
ROSAS, who asked the CS, “You ready?” The CS stated he/she was “getting the
money together now” and asked how much “you want for that one thing [the ounce

of cocaine]?” ROSAS responded: “l got both of them on deck right now for the 650

 

4 This call was not recorded because, at the time of the conversation the CS was working

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 11 of 16 Page|D #:11

[$650 for the two firearms].” The CS clarified, “No, l’m talking about the other one
[the ounce of cocaine].” ROSAS stated “Which one?” The CS replied, “The zone [the
ounce of cocaine].” ROSAS stated “Oh, for the seven [$700].” The CS asked ROSAS
if the CS “grabbed the Zone, do you think you could a, knock fifty bucks off the other
one, an even six?,” referring to ROSAS taking $50 dollars off the price of the
firearms if the CS also purchased the ounce of cocaine for $700. ROSAS replied,
“J ust come holler at me.” The CS stated that he/she would be over in approximately
10 minutes

24. After the consensually-recorded telephone call with ROSAS, the agents
searched the CS and the CS’s vehicle for contraband, with negative results The
agents gave $1,300 to the CS in pre-recorded United States currency. The agents
equipped the CS’s person with audio-video recording equipment, and surveilled the
CS as he/she drove to ROSAS’s residence on Elgin Avenue in Joliet, lllinois.

25. At approximately 8:45 p.m., agents observed the CS arrive at ROSAS’s
residence, park, exit his/her vehicle and walk to the rear of the residence towards
the basement apartment

26. As captured on the video-recording and according to the CS, inside the

basement apartment was ROSAS and three other subjects5 According to the CS,

 

5 The identification of ROSAS in this Affidavit is based on the following: (1) the CS’s
identification of ROSAS as the person who sold a firearm and cocaine to him/her on or
about l\/larch 18, 2015; (2) law enforcement’s review of the March 18, 2015, video-recording
Which captured the face of the person who met with the CS in the basement apartment at
1105 Elgin Avenue, Joliet, lllinois, which matches the appearance of a known photograph of
ROSAS, and also matches past physical surveillance and video-recorded meetings with
ROSAS in the same investigation including the purchase of a firearm from ROSAS by the
CS on or about December 31, 2014, at the same residence; and (3) law enforcement’s review

10

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 12 of 16 Page|D #:12

there was a large chunk of suspect cocaine on the table inside the apartment. The
CS told ROSAS that the CS was trying to “grab that [firearm] right quick, cause
they just, they just lit this nigger’s crib up,” referring to why the CS needed the
firearm quickly and the CS’s purported plan to give the firearm to fellow Latin King
gang member Individual A, whose residence was shot at in a drive-by shooting by
Vice Lord gang members ROSAS asked the CS who did the shooting, and the CS
replied, “them Hooks [Vice Lords street gang],” a rival of the Latin Kings, according
to the CS. The CS told ROSAS, “That shit’s going down lt’s like a war zone,”
referring to the ongoing battle between the Latin Kings and Vice Lords According
to the CS, ROSAS then showed the CS a nylon case containing two extra magazines
for the semi-automatic firearm. According to the CS, ROSAS removed the two
firearms from two socks The CS told ROSAS that he/she was going to “run this
down and then I’ll, l’ll shoot [come] back,” referring to giving the firearms to Latin
King gang members to be used in retaliation for the drive-by shooting According to
the CS, ROSAS showed the firearms to the CS, and the CS stated, “Those [firearms]
are small.” ROSAS stated, “Yeah, this is a short [referring to the revolver], this
one’s a long [referring to the semi-automatic firearm but the firearm itself stated
.22 long rifle on it].” The CS asked ROSAS if he would take “13 [$1,300] for

everything [the two firearms and the ounce of cocaine].” ROSAS asked “and a zone

 

of the l\/larch 18, 2015, audio-recording which captured the voice of the person who met with
the CS in the basement apartment at 1105 Elgin Avenue, Joliet, lllinois, which matches the
voice of past recorded calls between ROSAS and recorded meetings between ROSAS and
the CS, including the purchase of a firearm from ROSAS by the CS on or about December
31, 2014.

11

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 13 of 16 Page|D #:13

[ounce of cocaine]?” The CS clarified: “Seven [$700] for the zone [ounce of cocaine]
and six [$600] for both the things [two firearms].” ROSAS agreed: “Yeah, fuck it.”
According to the CS, ROSAS then went to the table and placed some cocaine into a
plastic bag; ROSAS weighed the cocaine and then handed it to the CS. The CS told
ROSAS that the CS was going to drop the guns off in the “neighborhood” and
“because they they really need it,” referring to the Latin Kings needing the guns to
use against the Vice Lords. The CS' asked ROSAS, “They’re not loaded,_ right?”
ROSAS replied, “The automatic is, automatic got the clip in it already.” The CS then
handed ROSAS $1,300 in pre-recorded United States currency, and as the CS did
so, the CS stated, “That’s thirteen [$1,300].” The CS asked for a bag to put the two
firearms and the ounce of cocaine into. ROSAS gave the CS a paper shopping bag,
and the CS placed all the items in the shopping bag and exited the apartment

27. At approximately 8:52 p.m., surveillance agents observed the CS walk
from the rear of ROSAS’s residence and enter the CS’s vehicle Law enforcement
conducted surveillance as the CS drove to the predetermined meeting location

28. At approximately 8:59 p.m., law enforcement met the CS at the
predetermined meeting location Agents recovered a shopping bag from the
floorboard of the CS’s vehicle; inside the bag was two firearms, specifically: (1) a
Phoenix Arms pistol, model HP22A, .22 caliber, bearing serial number 4406046,
loaded with 10 rounds of .22 caliber ammunition wrapped in a black sock; and (2) a
Rohm .22 caliber revolver, bearing serial number 1047115, wrapped in a White and

pink sock. Also recovered from the bag was (1) a nylon dual-magazine pouch with

12

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 14 of 16 Page|D #:14

two .22 caliber magazines with 9 and 10 rounds of .22 caliber ammunition in each
magazine, respectively; (2) five rounds of .22 caliber ammunition in the same white
and pink sock that contained the Rohm revolver; and (3) a small plastic bag
containing approximately 29 grams of a white chunky substance which field tested
positive as cocaine The agents subsequently searched the CS and the CS’s vehicle
for additional contraband, with negative results
Interstate Nexus of Firearm

29. On or about October 5, 2015, an ATF firearms interstate nexus expert
examined the description of each firearm purchased by the CS from ROSAS on or
about March 18_, 2015, and determined that neither firearm Was manufactured in
the State of lllinois, and both firearms therefore had travelled in interstate
commerce prior to ROSAS’s possession of them.

ROSAS’s Criminal History

30. According to certified copies of conviction provided by the Clerk of the
Circuit Court of Will County, lllinois, as well as the Clerk of the Circuit Court of
LaSalle County, lllinois, ROSAS had been convicted of the following felony offenses
prior to March 18, 2015, all of which were punishable by a term of imprisonment
exceeding one year: (1) on or about September 18, 1995, ROSAS was convicted of
aggravated discharge of a firearm, and sentenced to 4 years’ imprisonment (Will
County); (2) on or about February 21, 1997, ROSAS was convicted of possession of
contraband in a penal institution and sentenced to 2 years’ imprisonment (LaSalle

County); (3) on or about November 24, 1998, ROSAS was convicted of conspiracy to

13

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 15 of 16 Page|D #:15

commit first degree murder, and sentenced to 10 years’ imprisonment (Will County);
(4) on or about June 13, 2007, ROSAS was convicted of unlawful possession of a
controlled substance with intent to deliver, and sentenced to 9 years’ imprisonment
(W ill County); and (5) on or about on or about June 18, 2007 , ROSAS was convicted
of aggravated battery, and sentenced to 2 years’ imprisonment, to run concurrent to
the sentence imposed on June 13, 2007 (Will County).
CONCLUSION

31. Based on the foregoing l believe there is probable cause to believe
that, on or about March 18, 2015, Gabriel ROSAS, aka, “Gabe,” having previously
been convicted of a crime punishable by a term of imprisonment exceeding one year,
knowingly possessed a firearm, in and affecting interstate commerce, in that the
firearm had traveled in interstate commerce prior to the defendants possession of
the firearm, namely a .22 caliber Phoenix Arms pistol, l\/lodel HP22A, bearing serial
number 4406046, and a Rohm .22 caliber revolver, bearing serial number 1047115,

in violation of Title 18, United States Code, Section 922(g)(1); and (2) knowingly and

14

 

Case: 1:16-cr-00107 Document #: 1 Filed: 02/23/16 Page 16 of 16 Page|D #:16

intentionally distributed a mixture or substance containing a detectable amount of

cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(l)(C).

FURTHER AFFIANT SAYETH NOT.

JOSEPH DYNES
Special Agent, Bureau of Alcohol, Tobacco,
Firearms & Explosives

 

  
    
   

SWORN told`ore me on February 23, 2016.

  

 

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GILBERT
ni'ted States Magistrate Judge

15

